                       UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF NEW YORK


STATE OF NEW YORK, et al.,

                     Plaintiffs,       20-CV-5770 (JMF)

          v.

DONALD J. TRUMP, in his official
capacity as President of the United
States, et al.,

                     Defendants.


NEW YORK IMMIGRATION
COALITION, et al.,

                     Plaintiffs,       20-CV-5781 (JMF)

          v.

DONALD J. TRUMP, in his official
capacity as President of the United
States, et al.,

                     Defendants.



          PLAINTIFFS’ CONSOLIDATED MEMORANDUM OF LAW
       IN OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS AND
            REPLY IN SUPPORT OF PLAINTIFFS’ MOTION FOR
     PARTIAL SUMMARY JUDGMENT OR PRELIMINARY INJUNCTION
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                                       INTRODUCTION

       Plaintiffs challenge an order by the President targeting a fundamental underpinning of our

democracy—the apportionment of seats in the House of Representatives based on the total

population of each State. The President has declared an official policy of excluding all

undocumented immigrants from the apportionment base, and Defendants are actively

implementing that policy. The Constitution and laws of the United States unambiguously forbid

this attempted manipulation of representative government, which injures Plaintiffs now and is

capable and worthy of judicial resolution now. For these and other reasons set forth below, the

Court should grant Plaintiffs’ motion for summary judgment and deny Defendants’ motion to

dismiss.

                                          ARGUMENT

I.     Plaintiffs have standing to challenge the Presidential Memorandum.

       A.      Plaintiffs have demonstrated injury-in-fact.

       An injury establishing standing “need not be large.” LaFleur v. Whitman, 300 F.3d 256,

270 (2d Cir. 2002). And threatened harm need not be “literally certain” to come about.” Ross v.

AXA Equitable Life Ins. Co., 115 F. Supp. 3d 424, 433 (S.D.N.Y. 2015) (quoting Clapper v.

Amnesty Int’l USA, 568 U.S. 398, 414 n.5 (2013)).

       Plaintiffs’ injuries more than suffice here. First, Plaintiffs have demonstrated a

“substantial risk” of a “concrete” apportionment injury. Spokeo, Inc. v. Robins, 136 S. Ct. 1540,

1548 (2016); see Pls.’ Mem. 8–10. The PM acknowledges that excluding undocumented

immigrants “for the purpose of apportionment” will redistribute political power to punish

immigrant-friendly jurisdictions and impact the “allocation of two or three” congressional seats.

85 Fed. Reg. 44,679, 44,680 (July 23, 2020). And the federal government estimates that

California and Texas are respectively home to 2.9 and 1.9 million undocumented residents—


                                                 1
populations larger than a congressional district. Pls.’ 56.1 Stmt. ¶¶ 3–7; Defs.’ 56.1 Resp. ¶¶ 3–7.

The PM itself thus establishes Plaintiffs’ standing. See, e.g., Massachusetts v. U.S. Dep’t of

Health & Human Servs., 923 F.3d 209, 224–25 (1st Cir. 2019). Moreover, Plaintiffs’ unrebutted

expert evidence confirms that excluding undocumented immigrants will “almost certainly” cause

these States and others to lose House seats. Pls.’ 56.1 Stmt. ¶¶ 21–22; Pls.’ Mem. 9; see Dep’t of

Commerce v. U.S. House of Reps. (“U.S. House”), 525 U.S. 316, 330 (1999).

       Defendants’ suggestion that this is speculative because they may not do what the PM

requires is absurd. Defs.’ Mem. 11. The President has declared an official “policy” of excluding

all undocumented immigrants from the apportionment and has ordered Defendants to carry out

that policy. 85 Fed. Reg. at 44,680. Defendants cannot evade review on the premise that they

may fail to carry out the official policy of the United States—contrary to the presumption of

regularity that Defendants frequently invoke. There is certainly a “substantial risk” that

Defendants will follow the President’s direction, causing the loss of congressional seats that

“satisfies the injury-in-fact requirement of Article III standing.” 1 New York v. U.S. Dep’t of

Commerce, 351 F. Supp. 3d 502, 607 (S.D.N.Y. 2019) (quotation marks omitted).

       Second, the overwhelming evidence reflects that the PM will harm Plaintiffs by deterring

immigrant families from responding to the census. See Pls.’ Mem. 42–45; Barreto Reply Decl.

¶¶ 2–3, 14, 18 (Ex. 65); Espinosa Supp. Decl. ¶¶ 4–6 (Ex. 62); Oshiro Supp. Decl. ¶ 3 (Ex. 63);

Seon Supp. Decl. ¶ 4 (Ex. 64); Awawdeh Decl. ¶ 3 (Ex. 60). Defendants contend there is “no

reason why such a Memorandum should have any effect on census response rates.” Defs.’


1
  Dr. Abowd states that, “consistent with best practices for a federal statistical agency,” it is
“impossible to assess precisely the effects of the PM on apportionment.” Abowd Decl. ¶ 15 (ECF
No. 119). But “[t]he Court’s task is not to determine whether the evidence . . . can satisfy the
Census Bureau’s high statistical standards,” New York, 351 F. Supp. 3d at 593, only whether
Plaintiffs are substantially likely to lose representation in Congress.


                                                  2
Mem. 12. But this ignores the “[f]ar-ranging social science research” demonstrating that the PM

“sends a signal of government monitoring citizenship status as it relates to the 2020 Census

population count,” Barreto Decl. ¶ 14 (Ex. 56), thereby eroding trust in the census and causing

avoidant behavior. Id. ¶¶ 14–23; see also Barreto Reply Decl. ¶¶ 20–23, 32 (Ex. 65); Espinosa

Supp. Decl. ¶¶ 4–6 (Ex. 62); Oshiro Supp. Decl. ¶ 3(Ex. 63); Seon Supp. Decl. ¶¶ 4–6 (Ex. 64);

Awawdeh Decl. ¶ 3 (Ex. 60); cf. New York, 351 F. Supp. 3d at 579 (“macroenvironment” factors,

“including a higher ‘level of concern about using citizenship data for enforcement purposes,’

could exacerbate the effects of adding a citizenship question”). And the PM “discredits the

essential message that everyone’s response matters” and undermines the effectiveness of

Plaintiffs’ outreach. Salvo Decl. ¶ 10 (Ex. 41); Pls.’ Mem. 42–43. Defendants’ blithe dismissal

of dozens of fact witnesses, including from groups the Census Bureau has itself engaged as

“partners” and trusted messengers to immigrant communities, 2 see Barreto Reply Decl. ¶¶ 28–

29, 34–35 (Ex. 65); Awawdeh Decl. ¶ 6 (Ex. 60); Espinosa Supp. Decl. ¶ 6 (Ex. 62), ignores the

compelling and specific evidence that the PM is deterring census participation right now. 3



2
 See, e.g., U.S. Census Bureau, National Partners and Supporters List,
https://2020census.gov/en/partners/directory.html (listing Plaintiff American-Arab Anti-
Discrimination Committee as a “National Partner”); U.S. Census Bureau, Community Partners
and Supporters 1767 (Feb. 25, 2020), https://bit.ly/31pHRma (listing Plaintiff New York
Immigration Coalition as a “Community Partner”).
3
  There is no merit to Defendants’ argument that this uncontroverted factual evidence should be
disregarded as hearsay or conclusory. Many of Plaintiffs’ witnesses describe concerns in
immigrant communities regarding whether—because of the PM—the census will be used to
deport them. See, e.g., Choi Decl. ¶¶ 19, 27 (Ex. 14); Cullinane Decl. ¶ 8 (Ex. 17); Espinosa
Supp. Decl. ¶ 5 (Ex. 62); Seon Supp. Decl. ¶ 3 (Ex. 64). This testimony is not hearsay because it
is not offered for truth, but rather to show state of mind. See Fed. R. Evid. 801(a), (c). This
evidence is detailed and specific, not conclusory. See, e.g., Soto Decl. ¶ 12 (Ex. 45). This
explains why the PM has forced Plaintiffs to divert resources for increased census outreach. See
Awawdeh Decl. ¶¶ 4–5 (Ex. 60); Choi Decl. ¶ 26 (Ex. 14); Espinosa Decl. ¶ 14 (Ex. 18);
Espinosa Supp. Decl. ¶ 4–7 (Ex. 62); Oshiro Supp. Decl. ¶¶ 3–4 (Ex. 63); Seon Decl. ¶¶ 16–17
(Ex. 43); Seon Supp. Decl. ¶¶ 4–7 (Ex. 64).


                                                3
       Moreover, contrary to Defendants’ suggestion, the Census Bureau’s 2019 randomized

control test regarding the effect of a citizenship question—which does not purport to measure the

effect of excluding undocumented immigrants from the apportionment—actually supports

Plaintiffs’ standing. It found “statistically significant lower self-response rates” for mixed status

households and Latino households. U.S. Census Bureau, 2019 Census Test Report at ix–x

(Jan. 3, 2020), https://www2.census.gov/programs-surveys/decennial/2020/program-

management/census-tests/2019/2019-census-test-report.pdf (“2019 Census Test Report”); see

Barreto Reply Decl. ¶¶ 5, 9–12 (Ex. 65). Although the study concluded that overall response

rates did not decline significantly, see 2019 Census Test Report at ix; Defs.’ Mem. 51–52, the

Bureau found “statistically significant lower self-response rates for the test questionnaire with

the citizenship question” among, inter alia, “census tracts with greater than 4.9 percent

noncitizens,” “greater than 49.1 percent Hispanic residents,” and significant numbers of Asian

residents. Id. at x (emphasis added). 4 Plaintiffs’ members and constituents include substantial

immigrant populations and will bear the brunt of these effects. E.g., Baldwin Decl. ¶¶ 8–9 (Ex.

4); Bird Decl. ¶ 12 (Ex. 9); Choi Decl. ¶ 27 (Ex. 14); Espinosa Decl. ¶¶ 10–13 (Ex. 18); Khalaf

Decl. ¶¶ 11–12 (Ex. 26); Mostofi Decl. ¶ 9 (Ex. 34); Oshiro Decl. ¶¶ 11–14 (Ex. 36); Sarmiento

Decl. ¶ 7 (Ex. 42); Seon Decl. ¶¶ 13–17 (Ex. 43); Sivongxay Decl. ¶ 13 (Ex. 44); Soto Decl. ¶ 12

(Ex. 45); Torres Decl. ¶¶ 2, 16 (Ex. 47); Aranda-Yanoc Decl. ¶ 7 (Ex. 51). This predictably

harms Plaintiffs in numerous ways, including by degrading the “statistical backbone of our

country,” Salvo Decl. ¶ 13 (Ex. 41); forcing the NGO Plaintiffs to divert resources and revise


4
  Dr. Abowd’s declaration also fails to note that this study “did not include the Nonresponse
Followup operation, so we are not able to measure the impact of a citizenship question for the
completeness and accuracy of the 2020 Census overall.” 2019 Census Test Report at x. “[E]ach
of NRFU’s steps will replicate or exacerbate the effects of the net differential decline in self-
response rates among noncitizen households.” New York, 351 F. Supp. 3d at 583.


                                                  4
census outreach plans; and exacerbating the undercount of immigrant communities. See, e.g., id.;

Pls.’ Mem. 45, 48 (listing witness testimony in support); New York, 351 F. Supp. 3d at 597–98.

       Third, the PM also injures the State Plaintiffs’ quasi-sovereign, or parens patriae,

interests in the well-being of their residents. See Alfred L. Snapp & Son, Inc. v. Puerto Rico ex

rel. Barez, 458 U.S. 592, 607 (1982). In Carey v. Klutznick, the Second Circuit held that “the

State of New York has standing in its capacity as parens patriae” to sue the Commerce

Department on a claim that the 1980 decennial census unlawfully undercounted New York

residents. 637 F.2d 834, 838 (2d Cir. 1980); see also Massachusetts v. EPA, 549 U.S. 497, 520

n.17 (2007). The State Plaintiffs have standing in their capacity as parens patriae based on their

quasi-sovereign interests in census accuracy and related representational, data quality, and

resource interests. Warshaw Decl. ¶ 47 tbl. 8 (Ex. 58); Pls.’ Mem. 47.

       B.      Plaintiffs’ injuries are caused by the Memorandum and will be redressed by
               its invalidation.

       Plaintiffs’ injuries are fairly traceable to the PM. There is no genuine dispute that the

PM’s stated aim—to exclude undocumented immigrants from the apportionment base—will

directly affect apportionment in Plaintiffs’ jurisdictions. 85 Fed. Reg. at 44,680; see Warshaw

Decl. ¶ 11 (Ex. 58). And the predictable effects of Defendants’ actions on the accuracy of the

census establish traceability, even when those effects are caused by irrational or illegal acts by

third parties. See Dep’t of Commerce v. New York (“New York”), 139 S. Ct. 2551, 2566 (2019).

       Defendants’ efforts to distance themselves from messages carried by “independent

actors” such as community groups, see Defs.’ Mem. 16–17, cannot be taken seriously: The

Census Bureau intentionally relies on third party organizations as trusted partners to encourage

self-responses. New York, 351 F. Supp. 3d at 521; Thompson Reply Decl. ¶¶ 11–13 (Ex. 66); see

also supra at 3 n.3. These trusted partners are now reporting that the PM directly undermines



                                                 5
their efforts. See Barreto Reply Decl. ¶¶ 34–35 (Ex. 65); Awawdeh Decl. ¶¶ 4, 6 (Ex. 60); Choi

Decl. ¶ 12 (Ex. 14); Espinosa Decl. ¶¶ 10–14 (Ex. 18); Espinosa Supp. Decl. ¶¶ 6–7 (Ex. 62).

       Plaintiffs’ injuries will be remedied by a favorable ruling. Requiring Defendants to

“count[] the whole number of persons in each State,” U.S. Const. amend. XIV, § 2, would both

resolve Plaintiffs’ apportionment harms and help assuage fears that the Administration is

surveilling undocumented immigrants via the census to deport them. Pls.’ Mem. 42–44, 51–52;

Barreto Reply Decl. ¶ 27 (Ex. 65); Espinosa Decl. ¶ 13 (Ex. 18); Choi Decl. ¶ 19 (Ex. 14);

Oshiro Decl. ¶ 10 (Ex. 36); Seon Supp. Decl. ¶¶ 5–7 (Ex. 64); Torres Decl. ¶ 20 (Ex. 47). A

favorable ruling will also convey that everyone does count for the census, restoring the

effectiveness of Plaintiffs’ messaging efforts, see Barreto Decl. ¶ 68 (Ex. 56); Thompson Reply

Decl. ¶¶ 11, 13 (Ex. 66), and freeing up organizational resources for other purposes, see

Espinosa Supp. Decl. ¶¶ 7–8 (Ex. 62); Oshiro Supp. Decl. ¶ 5 (Ex. 63).

II.    Plaintiffs’ claims are ripe for judicial review.

       Plaintiffs’ claims are ripe for review as both a constitutional and prudential matter. The

constitutional ripeness inquiry essentially mirrors the Article III standing analysis. See In re

Methyl Tertiary Butyl Ether (MTBE) Prods. Liab. Litig., 725 F.3d 65, 110 (2d Cir. 2013).

Plaintiffs’ claims are constitutionally ripe because Plaintiffs face both present injury and a

“substantial risk” of future injury unless this Court halts the PM. New York, 139 S. Ct. at 2565;

see Ross v. Bank of America, N.A. (USA), 524 F.3d 217, 226 (2d Cir. 2008). Defendants’

ripeness argument (Defs.’ Mem. 6–10) entirely ignores the present injury that the NGO Plaintiffs

are suffering from being forced to divert their resources, due to the deterrent effect that the PM is

having on participation in the ongoing census. See Pls.’ Mem. 42–46; supra Part I.A.

       In addition, Plaintiffs’ apportionment injury is not “conjectural or hypothetical.” Defs.’

Mem. 7. Defendants do not dispute that a claim can be ripe when future injury is “certainly


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impending, or [when] there is a substantial risk that the harm will occur.” Susan B. Anthony List

v. Driehaus, 573 U.S. 149, 158 (2014) (quotation marks omitted); see New York v. United States,

505 U.S. 144, 175 (1992) (claims ripe where statutory provision did not take effect for three

years). The Supreme Court and lower courts have made clear that courts may review a decision

that would alter the enumeration or the resulting apportionment even before the census begins.

U.S. House of Representatives, 525 U.S. at 332; see New York, 351 F. Supp. 3d at 573–74; Carey

v. Klutznick, 508 F. Supp. 404, 407, 411–12 (S.D.N.Y. 1980).

       Here, there is far more than a “substantial risk” that Plaintiffs will suffer apportionment

injury. The PM definitively announces a policy of excluding undocumented immigrants from the

apportionment base. It directs the Secretary of Commerce to help “carry out the policy” by

providing a count of the number of undocumented immigrants in each State, 85 Fed. Reg. at

44,680—and Defendants admit they are already carrying out that policy (Defs.’ Mem. 7). See

City & Cty. of San Francisco v. Trump, 897 F.3d 1225, 1238 (9th Cir. 2018). And the PM

explicitly acknowledges that this will cause California to lose “two or three . . . congressional

seats.” 85 Fed. Reg. at 44,680; see Pls.’ Mem. 4 & n.2; Kidder, Peabody & Co. v. Maxus Energy

Corp., 925 F.2d 556, 563 (2d Cir. 1991) (declaring “the rights of the parties in accordance with

the very representations” made by defendant). Plaintiffs’ claims here are thus not an “abstract

disagreement[]” over an informal proposal that might affect apportionment, Defs.’ Mem. 6;

rather, they challenge an official “policy” that is already being implemented and that is expressly

intended to reallocate House seats. See Glavin v. Clinton, 19 F. Supp. 2d 543, 547–48 (E.D. Va.

1998) (three-judge court) (finding ripeness “[g]iven the finality of the Department’s decision to




                                                 7
utilize statistical sampling” for 2020 census), aff’d 525 U.S. 316 (1999). 5

       Defendants’ only response is to speculate (Defs.’ Mem. 7-8) that the Secretary might fail

to do what the President has ordered. That possibility does not address the PM’s ongoing effect

of deterring census participation or forcing Plaintiffs to divert resources to mitigate that impact.

And the mere possibility that Defendants may prove incapable of implementing their unlawful

policy cannot insulate that policy from judicial review. A claim is ripe when a plaintiff faces a

“threat of injury resulting from the [government] employing an operational plan that will likely

lead” to injury. Cent. Delta Water Agency v. U.S., 306 F.3d 938, 948 (9th Cir. 2002). Injury need

not be guaranteed. See Mountain States Legal Found. v. Glickman, 92 F.3d 1228, 1234 (D.C.

Cir. 1996). The possibility that Defendants “may change their course of conduct is not the type

of contingency” that can defeat ripeness. Cent. Delta Water Agency, 306 F.3d at 950. It is always

possible that the federal government might abandon a course of conduct, “but that hardly renders

the litigation nonjusticiable before that event occurs.” Glavin, 19 F. Supp. 2d at 547–48. “It

would be inequitable in the extreme” for Defendants “to create a significantly increased risk of

harm” to Plaintiffs from excluding undocumented immigrants from the apportionment base, but

then thwart judicial review by saying that they might not do what the President has commanded.

Cent. Delta Water Agency, 306 F.3d at 950; see Susan B. Anthony, 573 U.S. at 165. 6

       Defendants’ relentless efforts to identify immigrants for purposes of excluding them from


5
  Defendants misplace their reliance (Defs.’ Mem. 9-10) on decisions that addressed a completed
enumeration or apportionment. None of those decisions even addressed ripeness, let alone held
that apportionment-related census litigation is ripe only after the apportionment.
6
  Texas v. United States, 523 U.S. 296 (1998), is not to the contrary. Defs.’ Mem. 6. There, the
Supreme Court concluded that Texas was prematurely seeking a declaration that Section 5 of the
Voting Rights Act was inapplicable to a possible future change in local elections where those
changes were not “currently foreseen or even likely.” 523 U.S. at 300. Here, Defendants have
already decided to exclude undocumented immigrants from the apportionment base and will do
so unless they unilaterally decide to change their own conduct.


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apportionment and redistricting make it implausible that Secretary Ross will not carry out the

President’s directive. Secretary Ross began taking steps to add a citizenship question to the

census shortly after his appointment in February 2017; disregarded warnings from the Census

Bureau that adding the question would undermine the accuracy of the enumeration; and

ultimately engineered—and presented to this Court—a “contrived” rationale that did not

honestly reflect his actual objective. New York, 139 S. Ct. at 2575. After the Supreme Court

ruled, the President then directed all executive agencies to provide to Secretary Ross “the

maximum assistance permissible” to determine “the number of citizens and noncitizens in the

country,” Exec. Order No. 13,880, 84 Fed. Reg. 33,821, 33,824 (July 11, 2019); and the Attorney

General declared that this information could be used to determine “whether illegal aliens can be

included for apportionment purposes.” 7 The PM is thus the latest action in a nearly four-year

effort to exclude immigrants from apportionment, and presumably reflects a year’s worth of

“maximum assistance” to come up with a count of the undocumented population. It beggars

belief that Secretary Ross might now abandon the PM’s policy. This Court is “not required to

exhibit a naiveté from which ordinary citizens are free.” New York, 139 S. Ct. at 2575 (internal

quotation marks and citation omitted).

       Defendants’ arguments on prudential ripeness are also meritless. No further factual or

administrative development is needed to resolve the “purely legal” issue of whether the PM’s

policy directing the categorical exclusion of undocumented immigrants from the apportionment

base violates the Constitution and the Census Act. Susan B. Anthony, 573 U.S. at 167; NRDC v.

U.S. E.P.A., 859 F.2d 156, 168 (D.C. Cir. 1988). That exclusion would be unlawful no matter


7
 Remarks by Attorney General William P. Barr on Census Citizenship Question (July 11, 2019),
https://www.justice.gov/opa/speech/remarks-attorney-general-william-p-barr-census-citizenship-
question.


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how Defendants choose to accomplish it. More fundamentally, “time is of the essence,” and

“[d]elayed review would cause hardship to Plaintiffs.” New York, 351 F. Supp. 3d at 626; see

also Miller v. Brown, 462 F.3d 312, 319 (4th Cir. 2006). Defendants’ actions are already

impairing the Census Bureau’s ability to conduct an accurate enumeration, to the detriment of

Plaintiffs and the public—harm that has been exacerbated by Defendants’ sudden decision to

shorten NRFU operations by a month. See Pls.’ Mem. 46; see also infra Part V.B.

       Waiting until Defendants actually impair the apportionment in January 2021 would also

create extensive confusion and disrupt the State Plaintiffs’ redistricting processes, which begin

soon after the President transmits his apportionment statement to Congress. 8 Plaintiffs cannot

meaningfully engage in these processes under the specter of substantial uncertainty about how

many House seats each State will have. See Pac. Gas & Elec. Co. v. State Energy Res.

Conservation & Dev. Comm’n, 461 U.S. 190, 201–02 (1983). If a State does redistrict and its

number of House seats is later altered, confusion and collateral litigation will result. If litigants



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  After the 2010 census, for example, the Census Bureau began delivering the redistricting data
summary files required by Pub. L. No. 94-171 for state redistricting on February 3, 2011. See
U.S. Census Bureau, Decennial Census P.L. 94-171 Redistricting Data (May 8, 2017),
https://www.census.gov/programs-surveys/decennial-census/about/rdo/summary-files.2010.html.
Many Plaintiff States are required by their constitutions or laws to propose or enact maps just a
few months later. E.g., Maine must enact its statewide plans by June 11, 2021. Me. Const. art.
IV, pt. 1, § 3; id. pt. 2, § 2; id. art. IX, § 24. Delaware must complete legislative redistricting by
June 30. See 29 Del. C. § 805. Other States must begin redistricting immediately after the
apportionment data are released to meet interim or final deadlines. E.g., Colo. Const. Art. V,
§ 44.2(1)(a) (Mar. 15 deadline to convene redistricting commission); Conn. Const. Art. XXVI,
§§ 2(a), (b) (Feb. 15 deadline to appoint reapportionment committee); N.C. Gen. Stat. § 163-
291(2)(a) (July 26 deadline to complete redistricting in time for candidate filing); see generally
Yurij Rudensky, Michael Li, & Annie Lo, How Changes to the 2020 Census Timeline Will
Impact Redistricting (May 4, 2020), https://www.brennancenter.org/sites/default/files/2020-
05/2020_04_RedistrictingMemo.pdf. Waiting until after the apportionment count is reported to
adjudicate Plaintiffs’ claims would disrupt these deadlines, harming Plaintiffs’ “sovereign
interests in the making and enforcement of their own laws.” New York, 351 F. Supp. 3d at 611.



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had to file new challenges to an unconstitutional apportionment in January 2021, the Supreme

Court may not resolve them until 2022, which could be too late to re-redistrict before the 2022

primaries. There is no reason to invite such chaos when Defendants’ exclusion of undocumented

immigrants from apportionment will “occur by a clearly determinable time in the near (if not

immediate) future.” Chem. Waste Mgmt., Inc. v. EPA, 869 F.2d 1526, 1534 (D.C. Cir. 1989). 9

       By contrast, Defendants will suffer no prejudice from immediate judicial resolution of the

legal issues presented here. There is an irreconcilable inconsistency between Defendants’

conclusory arguments that (a) judicial review of the PM “would improperly interfere with the

Census, which is currently in progress” (Defs.’ Mem. 9), but that (b) the PM itself has no

disruptive effect on the census at all (Defs.’ Mem. 12). Defendants are half-right: Both the PM

and judicial review will affect the census; however, the weight of evidence shows that the former

is harming response rates and the latter would undo some of that damage. See Pls.’ Mem. 42–46;

Barreto Decl. ¶ 68 (Ex. 56); Awawdeh Decl. ¶ 3 (Ex. 60); Espinosa Supp. Decl. ¶¶ 5–8 (Ex. 62);

Oshiro Supp. Decl. ¶¶ 3–5 (Ex. 63); Seon Supp. Decl. ¶¶ 4–7 (Ex. 64). Defendants’ inconsistent

argument seems designed to avoid merits review, contending simultaneously that this case is not

ripe because they might not succeed at excluding undocumented immigrants from

apportionment, but also that review might impede their ability to succeed at that objective. See

New York, 351 F. Supp. 3d at 628. Even if it were plausible to believe that Secretary Ross is

genuinely debating whether will comply with the President’s directive, “a judicial decision” here

“would hardly ‘interfere’ with [that] administrative action.” Id. at 627 (challenge to citizenship



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  Defendants assert that Plaintiffs’ claims can be decided after the President’s report is
transmitted to Congress in January 2021, Defs.’ Mem. 9, but notably refused to confirm that the
apportionment figures can be altered after that time. See Tr. 16:11–14 (ECF No. 79), New York v.
Trump, No. 20-cv-5770 (S.D.N.Y. Aug. 5, 2020); cf. Utah v. Evans, 536 U.S. 452, 462 (2002).


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question ripe despite possibility that OMB might disapprove question). “[T]he hardship to the

parties of withholding court consideration” thus weighs decisively in favor of deeming this

dispute to be ripe. Abbott Labs. v. Gardner, 387 U.S. 136, 148–49 (1977).

III.   Summary judgment is warranted on Plaintiffs’ claims that the Presidential
       Memorandum violates the Constitution and the Census Act.

       A.      Defendants’ decision to exclude undocumented immigrants from the
               apportionment base violates Article I and the Fourteenth Amendment.

       The exclusion of undocumented immigrants from the apportionment base violates two

distinct constitutional requirements: first, the mandate to apportion representatives based on “the

whole number of persons in each State,” U.S. Const. amend. XIV, § 2 (Pls.’ Mem. 10-24); and

second, the requirement that apportionment be based solely on the “Numbers” from the “actual

Enumeration,” id. art. I, § 2, cl. 3 (Pls.’ Mem. 24-27).

       Defendants entirely fail to address the second issue. They ignore Plaintiffs’ claim that the

Constitution forbids them from manipulating the actual enumeration numbers—by subtracting

out people who are enumerated—in allocating House seats. Plaintiffs are accordingly entitled to

summary judgment on this ground alone. Indeed, Defendants concede that they will violate this

requirement. They admit that they will conduct an actual enumeration that counts undocumented

immigrants at the residence where they live, Fontenot Decl. ¶ 11 (ECF No. 120), “according to

the methodology set forth in the Final 2020 Census Residence Criteria and Residence

Situations.” Defs.’ Mem. 4. Defendants further admit that the Secretary will then produce “two

sets of numbers”: the actual enumeration, and a separate count that reduces the actual

enumeration by subtracting out undocumented immigrants, and then will use the lower figure for

apportionment. Defs.’ Mem. 7, 42. Such manipulation of the actual enumeration is the kind of

“political chicanery” that the Founders sought to avoid. See Utah v. Evans, 536 U.S. 452, 500,

503 (2002) (Thomas, J., concurring in part and dissenting in part); see Pls.’ Mem. 24–25.


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       Nor is the exclusion of undocumented immigrants from the apportionment base

compatible with the Fourteenth Amendment. The Constitution’s express terms, more than two

centuries of unbroken history and practice, and controlling Supreme Court precedent prohibit the

exclusion of millions of undocumented immigrants who indisputably reside here. Pls.’ Mem. 10–

23. The Framers of both the original Article I and the Fourteenth Amendment purposefully made

a person’s residence the constitutional lodestar for apportionment. Defendants do not and cannot

dispute that the Framers repeatedly specified that they adopted all “persons” as the

apportionment base—rather than “citizens”—specifically to include “the entire immigrant

population” in the apportionment count. Id. at 16. And Defendants fail to respond to the

universal understanding expressed by courts, Congress, the Census Bureau, the Commerce

Department, and the Department of Justice that the Constitution mandates that the apportionment

base include all undocumented immigrants who reside here.

       Defendants’ arguments to the contrary are fatally undermined by two fundamental errors.

First, Defendants assert the relevant question is whether the Fourteenth Amendment “require[s]

including all illegal aliens in the apportionment,” and that Defendants thus prevail so long as

some hypothetical subset of undocumented immigrants could be excluded—including for reasons

unrelated to their immigration status. Defs.’ Mem. 34. This framing is untethered from the policy

the President adopted. The PM does not purport to exclude some subcategory of undocumented

immigrants from the apportionment base. To the contrary, it expressly states that “it is the policy

of the United States to exclude from the apportionment base aliens who are not in a lawful

immigration status under the Immigration and Nationality Act,” and accordingly directs that all

of “these illegal aliens” be excluded solely because they are “not in a lawful immigration status.”

85 Fed. Reg. at 44,680. Nor does the PM direct the Secretary to provide a count of any




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subpopulation of undocumented immigrants, but rather all undocumented immigrants in each

State. See Defs.’ Mem. 4, 7, 32. This policy of categorical exclusion cannot be insulated from

review by incanting the words “to the extent permissible and consistent with law” and

hypothesizing that some nonexistent, narrower policy might be lawful.

       Second, Defendants ignore the fact that, by definition, the undocumented immigrants who

would be excluded from the apportionment base under the PM are those whom the Census

Bureau will already have determined have their “usual residence” in a particular State—and thus

are “inhabitants” of that State even under Defendants’ theory. See, e.g., Defs.’ Mem. 29

(equating “inhabitants” with “usual residents”). Under the Residence Rule, the 2020 census will

follow the “constitutional and statutory mandates to count all residents of the several states” by

enumerating all persons “in accordance with the concept of ‘usual residence,’” that is, “the place

where a person lives and sleeps most of the time.” Final 2020 Census Residence Criteria and

Residence Situations, 83 Fed. Reg. 5525, 5526 (Feb. 8, 2018). There is no dispute that this

enumeration includes undocumented immigrants where they usually reside.

       Many of Defendants’ arguments are strawmen that ignore this fact. For example,

Defendants note that “transient aliens, such as those temporarily residing here for vacation or

business, are not included in the apportionment base,” Defs.’ Mem. 30, but that exclusion,

consistent with the Residence Rule, is due to such individuals’ transient status, not their

immigration status. Indeed, even U.S. citizens who usually reside outside this country would not

be counted here if they were only transiently present. See 83 Fed. Reg. at 5533. And Defendants’

assertion that “physical presence” is not “dispositive,” Defs.’ Mem. 27, is beside the point

because their policy would exclude undocumented immigrants who are not only physically

present but whom the Census Bureau concludes are usual residents of a State.




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       Defendants also ignore the historical record in asserting that the Framers’ embrace of

immigrants in the apportionment count not have contemplated persons who are unlawfully

present because the first federal immigration law was enacted only after the Fourteenth

Amendment. Defs.’ Mem. 36. Defendants ignore the fact that certain States had immigration

laws that predated the Fourteenth Amendment’s adoption, such as laws that prohibited entry of

persons who were mentally ill or “likely to become permanently a public charge.” Ch. 195, § 3,

1847 N.Y. Laws 182, 184; see Kunal M. Parker, State, Citizenship, and Territory: The Legal

Construction of Immigrants in Antebellum Massachusetts, 3 Law & History Review 583, 622–25

(2001) (describing Massachusetts’ immigration laws from 1840 to 1860). There is no indication

that the Fourteenth Amendment’s Framers believed that immigrants who were here in violation

of those state laws should be excluded from the apportionment base. Cf. Cong. Globe, 39th

Cong., 1st Sess. 1256 (1866) (Massachusetts Senator Henry Wilson objecting to voter-population

apportionment base because it would “throw out of the basis two and half millions of

unnaturalized foreign-born men and women” and cost Massachusetts House seats).

       In any event, the Constitution’s history is unmistakably clear that the Framers

affirmatively rejected using an apportionment base that turns on any legal status, including voter,

citizenship, and immigration status. The Framers understood that mandating an apportionment

base that includes “every single person residing in the United States,” New York, 351 F. Supp. 3d

at 514, would forbid such status-based exclusions and fulfill the Framers’ conviction that “[a]ll

the people, or all the members of a State or community, are equally entitled” to representation in

the House. Cong. Globe, 39th Cong., 1st Sess. 2962 (1866) (Sen. Luke Poland).

       The Supreme Court explained in Evenwel v. Abbott, 136 S. Ct. 1120, 1128–29 (2016),

that the Framers adopted this “theory of the constitution.” Defendants remarkably devote just a




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single sentence in their brief to Evenwel, claiming that it “begs the central question here as to the

limits on how ‘inhabitant’ may be defined.” Defs.’ Mem. 38. But Evenwel upheld intra-state

redistricting on the basis of “total population,” 136 S. Ct. at 1123—which indisputably

encompassed undocumented immigrants, see Br. of Amicus Curiae Immigration Reform Law

Inst. in Supp. of Appellants, Evenwel, No. 14-940, 2015 WL 4747986 (U.S. Aug. 7, 2015)—

because the Constitution requires the use of the same “total population” base for inter-state

apportionment. Evenwel, 136 S. Ct. at 1129. Defendants’ position is irreconcilable with Evenwel.

       Defendants’ repeated references to the President’s supposed “discretion” (Defs.’ Mem.

31–33) thus miss the point: whatever discretion the President might have in conducting the

census, that discretion does not extend to the categorical exclusion of a class of residents based

solely on their immigration status. Tellingly, the principal example that Defendants marshal was

a policy to include overseas military personnel in the enumeration because they could reasonably

be considered “usual residents of the United States” and had maintained their “ties to their home

States” during their temporary postings abroad. Franklin v. Massachusetts, 505 U.S. 788, 806

(1992). That more embracive policy offers no support for Defendants’ decision here to exclude

undocumented immigrants despite the fact that they indisputably reside here. The invidiousness

of Defendants’ argument is laid bare by their reliance on Franklin to suggest that Defendants

may deem undocumented immigrants who indisputably live here to be “noninhabitants” based on

their purported lack of “allegiance.” Defs.’ Mem. 26–28. Under that limitless theory, Defendants

could exclude all noncitizens—or many other residents who have not shown sufficient

“allegiance”—from the apportionment base. The Framers based apportionment on total

population to prevent precisely such dangerous erosion of the foundational principle of “equal

representation for equal numbers of people.” Wesberry v. Sanders, 376 U.S. 1, 18 (1964).




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       Defendants also err in arguing that they may unilaterally deem people in immigration

detention or removal proceedings “nonresidents” for purposes of apportionment. Defs.’ Mem.

33. Such a unilateral determination is inconsistent with constitutional and statutory mandates,

uniform historical practice, and the Residence Rule. And detained individuals comprise a small

subset of the undocumented population; undocumented adults have lived in the United States for

a median of 15.1 years, with 66% having lived in the United States for more than 10 years. Pew

Research Center, Five Facts about Illegal Immigration in the U.S. (June 12, 2019),

https://www.pewresearch.org/fact-tank/2019/06/12/5-facts-about-illegal-immigration-in-the-u-s.

In any event, many people in immigration custody or removal proceedings have lawful

immigration status, see, e.g., Ragbir v. Homan, 923 F.3d 53, 56 (2d Cir. 2019), and their

placement in custody or removal proceedings does not automatically render them unlawfully

present. Immigration judges ultimately decide that many in custody or removal proceedings are

entitled to remain in this country. See TRAC Immigration, Immigration Judges Decide 57

Percent Entitled to Remain in U.S., https://trac.syr.edu/immigration/reports/435/. And many

individuals initially designated as “undocumented”—including those intercepted at the border—

ultimately obtain lawful status, such as asylum. See U.S. Dep’t of Justice, Executive Office for

Immigration Review, Statistics Yearbook Fiscal Year 2018, at 27,

https://www.justice.gov/eoir/file/1198896/download (55% of asylum applications granted in

2015). Indeed, because inclusion in the apportionment turns on residence, not legal status,

Defendants count people in immigration detention facilities in the apportionment base, at the

detention facility where they are living. 83 Fed. Reg. at 5535.

       Defendants’ remaining arguments are irrelevant, wrong, or both. For example, the federal

government’s general authority to set criteria for entering the United States or obtaining




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citizenship (Defs.’ Mem. 36–37) is not at issue here—particularly given that such legal status has

never mattered for inclusion in the apportionment base. Defendants rely on inapposite cases

unrelated to apportionment in contending that, contrary to two hundred years of census history,

“inhabitant” means solely persons who have “permission” to stay in a jurisdiction (Defs.’ Mem.

32). 10 Defendants are also incorrect in contending (id. at 37) that immigrants’ ability to gain

citizenship and the right to vote through naturalization motivated the Framers to include

immigrants in the apportionment base; that argument makes no sense given that the Framers’

broad inclusion of all “persons” in the apportionment base swept in individuals who could not

vote at all at the time, such as women. See Cong. Globe, 39th Cong., 1st Sess. 10 (1865). And

the apportionment count has also long included immigrants who might never be eligible for

citizenship. See, e.g., Chinese Exclusion Act, Pub. L. No. 47-126, § 14, 22 Stat. 59 (1882)

(precluding Chinese immigrants from receiving citizenship); Takao Ozawa v. United States, 260

U.S. 178, 192–93 (1922). The debates over the Fourteenth Amendment also make clear that the

Framers were motivated to include immigrants in the apportionment base in part because States

with large immigrant populations would otherwise decline to ratify the Fourteenth

Amendment—which would make little sense if such immigrants could freely be excluded

anyway. See, e.g., id. at 359 (Representative Conkling).

       None of the snippets of congressional debates cherry-picked by Defendants alter this

analysis. For example, when properly read in context, two of the quotations in Defendants’ brief

(at 37) address the Fourteenth Amendment’s penalization of States that continued to deny the


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  Whatever the term “inhabitant” might mean in unrelated contexts, for purposes of
apportionment, it has always meant a person who usually lives in the United States. Franklin,
505 U.S at 804. For example, Esther Kaplan of Kaplan v. Tod, 267 U.S. 228 (1925), whom
Defendants say never resided in the U.S. because she was denied lawful entry (Defs.’ Mem. 35),
was in fact counted as an inhabitant in the 1920 census. See Mendelsohn Decl. (Ex. 61).


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franchise to Black men (by explaining that States did not entirely deny the franchise to

noncitizens). See Cong. Globe, 39th Cong., 1st Sess., at 354, 3035. And Representative Conkling

referred to immigrants’ ability to gain various political rights through naturalization in

condemning the continued political subjugation of former slaves who were denied the right to

vote. None of these quotations remotely suggest that persons who plainly live here, including

undocumented immigrants, may be removed from the apportionment base—a remarkable

contention that is belied by any plausible understanding of the Constitution’s text and history.

        B.      The Memorandum is ultra vires under the statutory scheme implementing
                the required decennial census and reapportionment of House seats.

        In accordance with the above-described constitutional mandates, Congress enacted an

“interlock[ing]” statutory scheme directing the Commerce Secretary and President to include the

“total population” and “whole number of persons in each State”—including undocumented

immigrants—in the decennial census used to apportion representatives. 13 U.S.C. § 141; 2

U.S.C. § 2a; see generally Pls.’ Mem. 27–32. “[T]he historical background of the decennial

census and the Act that governs it” unambiguously favors Plaintiffs. U.S. House, 525 U.S. at

335; see also id. at 350 (Scalia, J., concurring in part). Defendants concede that the term

“persons” includes undocumented immigrants, Defs.’ Mem. 40, but purport to find ambiguity in

the phrase “in each State,” id. This argument fails with respect to Defendants’ statutory

violations just as it fails with respect to their constitutional violations.

        Defendants have no answer for the clear statutory text and history of the Census Act. For

example, Congress required an apportionment based on the whole number of persons in each

State, including non-citizens (see Pls.’ Mem. 27–32), knowing that would include undocumented

immigrants. Indeed, prior to adopting the 1929 Census Act, Congress had enacted many statutes

restricting immigration (e.g., An Act to Limit the Immigration of Aliens into the United States,



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Pub. L. No. 68-139), and expressly rejected an amendment to the 1929 Act to require census

enumerators to count immigrants and ascertain whether they had lawfully entered the United

States. 71 Cong. Rec. at 2456 (1929). As Defendants essentially concede, the statutory

provisions at issue here have never been understood to allow exclusion of undocumented

immigrants. See Pls.’ 56.1 Stmt. ¶ 1; Defs’ 56.1 Resp. ¶ 1; 83 Fed. Reg. at 5526.

       Moreover, once the actual enumeration includes undocumented immigrants, Defendants

cannot exclude them in apportioning House seats. The statutes require that both the Secretary’s

Section 141 apportionment report to the President, and the President’s Section 2a apportionment

report to Congress, use the “total population” and “whole number of persons” reflected in the

actual enumeration, which will include undocumented immigrants in 2020. Pls.’ Mem. 33–36.

And, for the Section 2a report, the President must conduct the “admittedly ministerial” (Defs.’

Mem. 41) calculation of the apportionment using the equal-proportions method. 2 U.S.C. § 2a;

see Pls.’ Mem. 36–37. The PM violates this ministerial duty because it contemplates an

apportionment based on data that is not the actual enumeration but rather subtracts millions of

people from the enumeration before performing the equal-proportions calculation.

       Franklin does not support Defendants’ argument that excluding undocumented

immigrants is within the President’s discretionary power to “mak[e] policy judgments that result

in ‘the decennial census.’” Defs.’ Mem. 65 (citing Franklin, 505 U.S. at 799). As this Court

already noted and Defendants admit, “the [PM] does not purport to change the conduct of the

census itself,” ECF 68 at 2; see Defs.’ Mem. 7, 10, 12. Instead, it purports to exercise discretion

to exclude undocumented immigrants from apportionment after the enumeration is completed.

85 Fed. Reg. at 44,680. Whatever non-ministerial duties the President may have with respect to

the conduct of the census, see Pls.’ Mem. 33 n.21, he lacks authority to depart from the actual




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enumeration for the apportionment. Rather, as Franklin affirmed, Section 2a “expressly

require[s] the President to use . . . the data from the ‘decennial census.’” 505 U.S. at 797. 11

Defendants’ attempt to untether the actual enumeration from the apportionment undermines the

Census Act’s purpose of ensuring an “automatic connection” between the enumeration and

apportionment, Franklin, 505 U.S. at 809 (Stevens, J., concurring in part and concurring in the

judgment), and improperly “give[s] the party controlling [the Presidency] the power to distort

representation in its own favor,” U.S. House, 525 U.S. at 348 (Scalia, J., concurring in part).

       Defendants cite cases regarding the Census Bureau’s use of data other than responses to

census questionnaires to complete the enumeration of the total population. Defs.’ Mem. 42–43.

But none of those cases involved the use of non-enumeration data to subtract persons already

counted post hoc, and thereby manipulate the apportionment. See Utah, 536 U.S. at 471

(affirming use of imputation to “fill in” missing census questionnaire responses and thereby

tabulate total population); Franklin, 505 U.S. at 803 (affirming use of home-of-record data for

overseas employees to “allocate[ them] to their place of usual residence” as part of the

enumeration). Indeed, the Supreme Court has made clear that the President must use the census’s

total population count for apportionment. See, e.g., New York, 139 S. Ct. at 2568–69 (Acts

“mandat[e] a population count that will be used to apportion representatives”); U.S. House, 525

U.S. at 321–22 (“Using this information [from the Census], the President must then “transmit to


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  Defendants’ other cases also do not recognize presidential discretion to depart from the
enumeration for purposes of apportionment. All three cases, Flue-Cured Tobacco Coop.
Stabilization Corp. v. U.S. E.P.A., 313 F.3d 852, 859 (4th Cir. 2002), Pub. Citizen v. U.S. Trade
Representative, 5 F.3d 549, 552 (D.C. Cir. 1993), and Alabama v. Dep’t of Commerce, 396 F.
Supp. 3d 1044, 1055 (N.D. Ala. 2019), discuss Franklin’s treatment of the Secretary’s report as
not final, because it is “still subject to correction.” 505 U.S. at 797. While “Section 2a does not
expressly require the President to use the data in the Secretary’s report” because the report itself
may be amended or corrected at a later date, the President’s Section 2a report must use still “the
data from the ‘decennial census.’” Id.


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the Congress a statement showing the whole number of persons in each State . . . and the number

of Representatives to which each State would be entitled.”).

       Finally, Defendants assert that it is “premature” to say whether the President will rely on

non-census data in conducting the apportionment. Defs.’ Mem. 43. But as noted above, supra

Part III.A, Defendants concede that the Secretary will send to the President “two sets of

numbers”: the actual census including undocumented immigrants counted in accordance with the

“usual residence” rule, and a second number excluding them. Defs.’ Mem. 42. Then, the

“President will choose [the latter] to plug into the method of equal proportions.” Id. If there are

two sets of numbers, and one is the census enumeration, then the other by definition will not be.

It is inconsistent with the “automatic connection” Congress intended between enumeration and

apportionment for the President to use different data and perform extra-statutory calculations to

manipulate the enumeration and resulting apportionment to his liking. Franklin, 505 U.S. at 809.

IV.    Defendants’ motion to dismiss for failure to state a claim should be denied.

       A.      There is no basis to dismiss Plaintiffs’ claims for relief under the APA.

       Defendants’ argument that Franklin requires the dismissal of Plaintiffs’ APA claims

because there is not yet “final agency action” is premature. Here, Plaintiffs have alleged that

final agency action has taken place or will shortly take place because, among other things, the

Secretary “has issued (or will imminently issue) directives to the Census Bureau . . . to

implement President Trump’s directive to exclude noncitizens from the enumeration and

apportionment base.” Am. Compl. ¶ 104. There is a plausible basis for such allegations. See

Ashcroft v. Iqbal, 556 U.S. 662, 679 (2009). Defendants have been preparing for this

exclusionary policy since the President’s announcement in the Rose Garden more than a year ago

that all executive agencies should provide “maximum assistance” to the Secretary to count the

immigrant population. Am. Compl. ¶ 91. And although Defendants now assert that they have not


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yet taken any reviewable action (e.g., Defs.’ Mem. 7–8), they have not produced evidence to

support such an assertion; the Census Bureau declarations are notably silent on this point.

       In any event, if final agency action has not yet taken place, it will likely take place soon

because scant time remains before the Secretary must report the figures that the PM directs him

to report. Plaintiffs have not sought summary judgment or a preliminary injunction on their APA

claims, and there is no pressing need to address those claims when fast-changing circumstances

on the ground (and additional disclosures by Defendants) will clarify whether there is a defect on

this point. Defendants’ argument assumes (Defs.’ Mem. 20–21) that no set of circumstances

exists under which any action taken by the Secretary or the Census Bureau will constitute final

agency action, but that argument is plainly too broad: courts including this one have repeatedly

subjected to APA review steps taken by the Department of Commerce or the Census Bureau in

advance of the final apportionment numbers submitted by the Secretary or the President. See,

e.g., U.S. House of Representatives, 525 U.S. at 332; New York, 351 F. Supp. 3d at 573–74.

       B.      The Governmental Plaintiffs’ complaint plausibly alleges that the
               Memorandum violates the Tenth Amendment.

       The Tenth Amendment prohibits the federal government from compelling the States “to

implement, by legislation or executive action, federal regulatory programs.” Printz v. United

States, 521 U.S. 898, 925 (1997). “That is true whether [the federal government] directly

commands a State to regulate or indirectly coerces a State to adopt a federal regulatory system as

its own.” Nat’l Fed’n of Indep. Bus. v. Sebelius, 567 U.S. 519, 578 (2012). Here, the

Governmental Plaintiffs plausibly allege that by intentionally targeting states that decline to

assist in federal immigration enforcement, the PM “indirectly coerces” States to legislate or

promote policies that capitulate to federal interests. Am. Compl. ¶¶ 103–04, 154–55.

       Defendants counterfactually respond that the “apportionment policy set forth in the



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Memorandum is wholly divorced from immigration enforcement,” Defs.’ Mem. 22, but the PM

says its policy is to reduce the political power of states that “hobble Federal efforts to enforce the

immigration laws.” 85 Fed. Reg. at 44,680. Defendants also assert that Plaintiffs have not alleged

facts supporting a “reasonable inference” regarding an “unstated” coercive purpose, Defs.’ Mem.

22, but the PM states its coercive goal right out loud. 85 Fed. Reg. at 44,680 (“States adopting

policies that encourage illegal aliens to enter this country . . . should not be rewarded with greater

representation in the House of Representatives.”).

       In addition, the Governmental Plaintiffs separately alleged (in a claim Defendants ignore)

that by targeting certain states for unfavorable treatment, the PM violates the Tenth

Amendment’s guarantee of “equal sovereignty.” Am. Compl. ¶¶ 156–57. This “fundamental

principle”—which reflects “the constitutional equality of the States”—requires that when the

federal government engages in “differential treatment” of the States, any “disparate geographic

coverage is sufficiently related to the problem that it targets.” Shelby Cty., Ala. v. Holder, 570

U.S. 529, 542, 544 (2013) (emphasizing that the government’s intent is highly relevant to a

court’s assessment of the fit between the action and its rationale).

       The Governmental Plaintiffs plausibly allege both that the PM targets certain States for

unfavorable treatment, Am. Compl. ¶¶ 103–04, and that this disparate treatment is not adequately

justified by the problem it claims to target—here, protecting “the integrity of the democratic

process,” 85 Fed. Reg. at 44,680—because it is instead motivated by discriminatory animus, see

Am. Compl. ¶¶ 109–16, 157. These allegations state a Tenth Amendment claim.

       C.      Plaintiffs have adequately stated a claim that the Presidential Memorandum
               was motivated by intentional discrimination.

       To state a claim for intentional discrimination based on race, ethnicity, and national

origin, Plaintiffs must allege only that the policy was “motivated at least in part” by improper



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animus. United States v. Yonkers Bd. of Educ., 837 F.2d 1181, 1216–17 (2d Cir. 1987). Courts

assess five non-exclusive factors in considering such a claim: disparate impact; the decision’s

“historical background”; “[d]epartures from the normal procedural sequence”; “[s]ubstantive

departures” from past practice; and “contemporary statements” by the decisionmakers. Vill. of

Arlington Heights v. Metro. Housing Dev. Corp., 429 U.S. 252, 266–68 (1977).

       The complaints sufficiently allege that the PM will have a disparate impact on Latinx and

Asian Americans, 12 see NGO Plaintiffs’ First Am. Compl. ¶¶ 23, 161–69, 215, as Defendants do

not dispute. Defendants instead argue (Defs.’ Mem. 25) that disparate impact is insufficient to

state a claim for intentional discrimination, citing Chief Justice Roberts’s recent plurality opinion

in Department of Homeland Security v. Regents of Univ. of California, 140 S. Ct. 1891 (2020).

But Regents did not overrule Arlington Heights—it merely applied the relevant factors and held

that the disparate impact there was insufficient to state a claim. Id. at 1915–16.

       The complaints here, however, allege facts regarding all of the other Arlington Heights

factors, which Defendants largely ignore, including: the PM’s connection to past discriminatory

efforts to strip Latinx and Asian American communities of political power; the dramatic

departure from decades of counting of undocumented residents for apportionment; the irregular



12
   The Court may take judicial notice of government statistics showing a correlation between
States with high percentages of Latinx and Asian Americans and those with the largest
percentages of undocumented residents. See Victoria Cruises, Inc. v. Changjiang Cruise
Overseas Travel Co., 630 F. Supp. 2d 255, 263 n.3 (E.D.N.Y. 2008). Compare U.S. Dep’t of
Homeland Sec., Population Estimates: Illegal Alien Population Residing in the United States:
January 2015 at 5 (Dec. 2018),
https://www.dhs.gov/sites/default/files/publications/18_1214_PLCY_pops-est-report.pdf, with
U.S. Census Bureau, Quick Facts: California, https://www.census.gov/quickfacts/CA; U.S.
Census Bureau, Quick Facts: Texas, https://www.census.gov/quickfacts/TX; U.S. Census
Bureau, Quick Facts: New Jersey, https://www.census.gov/quickfacts/NJ; U.S. Census Bureau,
Quick Facts: Florida, https://www.census.gov/quickfacts/FL; U.S. Census Bureau, Quick Facts:
New York, https://www.census.gov/quickfacts/NY.


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and ill-timed procedural sequence involving political interference with Census Bureau

operations; and Defendant Trump’s overt expressions of animus. NGO Plaintiffs’ First Am.

Compl. ¶¶ 6, 94–106, 114–125, 127–141, 143–151, 216; Governmental Plaintiffs’ Am. Compl.

¶¶ 2, 60, 63–68, 73–76, 109–116; cf. Ramos v. Nielsen, 336 F. Supp. 3d 1075, 1098 (N.D. Cal.

2018) (“President Trump has expressed animus against non-white, non-European immigrants.”).

        Defendants also mischaracterize the connection between the PM and the earlier effort to

add a citizenship question to the census. Defs.’ Mem. 25–26. Although the district court held in

the citizenship question litigation that—based on evidence available at trial in November 2018—

Plaintiffs did not meet their burden of showing the citizenship question was motivated by

intentional discrimination, New York, 351 F. Supp. 3d at 669–71, substantial new evidence

emerged after trial establishing a direct connection between the efforts to add the citizenship

question and a study advising that the question would benefit “Republicans and Non-Hispanic

Whites” by allowing for the exclusion of non-citizens in redistricting. NGO Plaintiffs’ First Am.

Compl. ¶¶ 129–31. And a week after the Supreme Court’s decision, Defendant Trump made

clear that the motivation for the citizenship question was not Voting Rights Act enforcement, but

“to find out if someone is a citizen as opposed to an illegal” and to use it “for Congress . . . for

districting.” Id. ¶ 134.

        To the extent Defendants contend that the PM is not discriminatory so long as it is

rationally related to a legitimate government interest, Defs.’ Mem. 25, Plaintiffs have easily pled

facts to clear this hurdle, because “a bare . . . desire to harm a politically unpopular group cannot

constitute a legitimate governmental interest.” U.S. Dep’t of Agric. v. Moreno, 413 U.S. 528, 534

(1973). And Defendants rely on the wrong standard of review in any event: The Supreme Court

employs heightened scrutiny when evaluating the claims of a “discrete class” that is “not




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accountable for their disabling status.” Plyler v. Doe, 457 U.S 202, 223 (1982). Here, citizens

and non-citizens with legal status who are members of communities with undocumented

immigrants will be injured by the PM but did not create their “disabling status.” See NGO

Plaintiffs’ First Am. Compl. ¶¶ 23, 32, 51–52, 66–68, 77–80, 219–20.

       D.      The President is a proper defendant in this action.

       It is the courts’ constitutional duty “‘to say what the law is’ in particular cases and

controversies,” Plaut v. Spendthrift Farm, Inc., 514 U.S. 211, 218 (1995) (quoting Marbury v.

Madison, 1 Cranch 137, 177 (1803)), and this obligation is especially crucial when the

lawfulness of the President’s conduct is at issue. Boumediene v. Bush, 553 U.S. 723, 765 (2008).

Defendants concede (Defs.’ Mem. 45) that declaratory relief is available against the President.

See Knight First Amendment Inst. at Columbia Univ. v. Trump, 302 F. Supp. 3d 541, 579–80

(S.D.N.Y. 2018) (“Knight Inst.”), aff’d, 928 F.3d 226 (2d Cir. 2019). Injunctive relief is available

as well, and Defendants’ motion to dismiss the President should be denied. 13

       “It is settled law that the separation-of-powers doctrine does not bar every exercise of

jurisdiction over the President of the United States.” Clinton v. Jones, 520 U.S. 681, 705 (1997)

(quoting Nixon v. Fitzgerald, 457 U.S. 731, 753–54 (1982)). Courts recognize presidential

immunity only where “the dangers of intrusion on the authority and functions of the Executive

Branch” outweigh “the constitutional weight of the interest to be served” by the court’s exercise

of jurisdiction. Nixon, 457 U.S. at 754; see also, e.g., Saget v. Trump, 375 F. Supp. 3d 280, 334

(E.D.N.Y. 2019) (denying motion to dismiss the President where “injunctive relief against the

President corrects unlawful conduct”). Here, “the census is a matter of national importance,”


13
  Courts have enjoined past presidents or orders they have issued. See, e.g., United States v.
Nixon, 418 U.S. 683, 706 (1974); Youngstown Sheet & Tube Co. v. Sawyer, 535 U.S. 579, 582,
584, 587–88 (1952); United States v. Burr, 25 F. Cas. 187, 191, 196 (No. 14,694) (CC Va. 1807).


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with “massive and lasting consequences.” New York, 351 F. Supp. 3d at 517. The “constitutional

weight” of the interest in ensuring that the census is conducted in accordance with Article I and

the Fourteenth Amendment cannot be overstated.

       Moreover, where the President lacks discretion to take the challenged action, injunctive

relief poses no separation of powers concerns. As Defendants admit, Defs.’ Mem. 44, a President

can be “subject to judicial injunction requiring the performance of a purely ‘ministerial’ duty.”

Franklin, 505 U.S. at 802–03. Here, the President purports to exercise discretion to exclude

undocumented immigrants from apportionment after the decennial census is completed. 85 Fed.

Reg. at 44,680. But he lacks such discretion. See supra Part III.A. 14

       Moreover, “the correction of an unconstitutional act” is ministerial, as “[n]o government

official . . . possesses the discretion to act unconstitutionally.” Knight Inst., 302 F. Supp. 3d at

579; see also Saget, 375 F. Supp. 3d at 334. Enjoining unconstitutional presidential action cannot

impinge on the President’s discretion or executive authority. Defendants’ reliance on Mississippi

v. Johnson, 71 U.S. 475 (1866) is therefore misplaced. In Mississippi, states sought an injunction

to prevent the President from exercising his discretion in enforcing the post-Civil War

Reconstruction Acts; “[h]ere, unlike in Mississippi, injunctive relief against the President

corrects unlawful conduct (rather than promotes it).” Saget, 375 F. Supp. 3d at 335; see also

Knight Inst., 302 F. Supp. 3d at 579. 15




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  Defendants assert that, under Franklin, an express statement by Congress would be required
for this Court to issue injunctive relief. Defs.’ Mem. 45. But Franklin held that “the President’s
actions may still be reviewed for constitutionality,” though not under the APA. Id. at 801.
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   Also, it would be premature to dismiss Plaintiffs’ claims for injunctive relief against the
President. Despite the “delicate” nature of the question, courts have declined to dismiss the
President at the motion-to-dismiss stage. See Mayor & City Council of Baltimore v. Trump, 416
F. Supp. 3d 452, 516-517 (D. Md. 2019); see also Saget v. Trump, 345 F. Supp. 3d at 297–98.


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V.     Injunctive relief is warranted to prevent irreparable harm.

       A.      The Memorandum imposes imminent and irreparable harms.

       The harms caused by the PM are imminent and irreparable. Plaintiffs allege two primary

types of harms attributable to the Presidential Memorandum: harms stemming from the exclusion

of undocumented immigrants in the apportionment count, and harms caused by the

Memorandum’s deterrent effect on census participation. Both require immediate injunctive

relief. Although Defendants urge that harms stemming from excluding immigrants in the

apportionment count “can be remedied after the fact,” Defs.’ Br. 48, reporting unlawful

apportionment numbers would wreak havoc on Plaintiffs and their state redistricting processes.

See supra Part II. These harms cannot be unwound after the fact, and the Court should reject

Defendants’ invitation to wait for these injuries to be inflicted. Defs.’ Mem. 48.

       The PM is also causing immediate injury by deterring census participation—which, in

turn, forces Plaintiffs to divert resources to additional census outreach, will degrade the quality

of census data, and will exacerbate the differential undercount of immigrant communities. See

supra Part I.A; Pls.’ Mem. 42–48. Absent a preliminary injunction, Plaintiffs “will suffer ‘an

injury that is neither remote nor speculative, but actual and imminent,’ and one that cannot be

remedied ‘if a court waits until the end of trial to resolve the harm.’” Grand River Enter. Six

Nations, Ltd. v. Pryor, 481 F.3d 60, 66 (2d Cir. 2007).

       Defendants note that the PM “has had no impact on the design of field operations for

decennial census.” Fontenot Decl. ¶ 12 (ECF No. 120). But Plaintiffs’ immediate injuries stem

from the effect of the PM on census response rates, not from any change to the conduct of the

census itself. If anything, the Census Bureau’s failure to adjust its operations to offset the PM’s

effect only supports Plaintiffs’ claims. Barreto Reply Decl. ¶¶ 15, 25, 30 (Ex. 65).

       Defendants also argue that the PM simply transmits a “general policy message” and not


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“something the government has actually done”; therefore, any fear it instills cannot form the

basis of irreparable harm. Defs.’ Mem. 51. It is hard to fathom how an official statement from

the President directing the Secretary to “take all appropriate action” to carry out federal policy is

not something the government has “done.” And Defendants cannot ignore harms stemming from

the “predictable effect of government action.” New York, 139 S. Ct. at 2566.

       B.      The balance of equities and public interest favor a preliminary injunction.

       The balance of the equities and public interest also weigh strongly in Plaintiffs’ favor.

See Pls.’ Mem. 50–52. As this Court has recognized, “[t]he integrity of the census is a matter of

national importance.” New York, 351 F. Supp. 3d at 517. The population count has immense

consequences for political power and funding decisions over the next decade. By contrast,

Defendants will suffer no injury if the PM is enjoined pending a final decision on the merits.

Defendants argue that “an injunction would impede the Executive’s historic discretion in

conducting the census.” Defs.’ Mem. 53. But this cannot be squared with Defendants’

concession that “the PM does not affect how the Census Bureau is conducting its remaining

enumeration operations,” id. at 12. The Plaintiffs’ and public’s interest in maintaining the

integrity of the census and apportionment process far outweighs Defendants’ interest in enacting

a policy that runs counter to the Constitution and hundreds of years of settled practice.

                                          CONCLUSION

       For the foregoing reasons, the Court should grant Plaintiffs’ motion for partial summary

judgment or preliminary injunction, and should deny Defendants’ motion to dismiss. 16


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   Notably, Defendants failed to move to dismiss the NGO Plaintiffs’ claim that Defendants are
violating the Census Act’s prohibition on statistical sampling. See NGO Pls.’ Am. Compl.
¶¶ 251-62 (ECF No. 57). And Defendants’ motion to dismiss with respect to Plaintiffs’ ultra
vires statutory claims fails to directly address the NGO Plaintiffs’ separate claim that the
President has usurped authority delegated to the Secretary of Commerce. See id. ¶¶ 222-36.


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DATED: August 25, 2020                 Respectfully submitted,

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